     Case 9:25-cv-80262-AMC Document 3 Entered on FLSD Docket 02/25/2025 Page 1 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


     Cary Cantner, on behalf of himself and others                     )
                  similarly situated,                                  )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                          Civil Action No. 9:25-cv-80262-AMC
                                                                       )
    Game of Silks, Inc., Dan Nissanoff, Troy Levy,                     )
   Tropical Racing, Inc., Ron Luniewski, and Derek                     )
                        Cribbs,                                        )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Game of Silks, Inc.
                                           5550 Glades Road
                                           Suite 532
                                           Boca Raton, Florida 33431




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Wolf Popper LLP
                                           845 Third Avenue
                                           12th Floor
                                           New York, NY 10022
                                           United States


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

             Feb 25, 2025
Date:
                                                                                                           s/ Clifford Charles
                                                                                       Signature of Clerk or Deputy Clerk
     Case 9:25-cv-80262-AMC Document 3 Entered on FLSD Docket 02/25/2025 Page 2 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


     Cary Cantner, on behalf of himself and others                     )
                  similarly situated,                                  )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                          Civil Action No. 9:25-cv-80262-AMC
                                                                       )
    Game of Silks, Inc., Dan Nissanoff, Troy Levy,                     )
   Tropical Racing, Inc., Ron Luniewski, and Derek                     )
                        Cribbs,                                        )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Dan Nissanoff
                                           5798 Regency Cir E
                                           Boca Raton, Florida 33496




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Wolf Popper LLP
                                           845 Third Avenue
                                           12th Floor
                                           New York, NY 10022
                                           United States


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             Feb 25, 2025
Date:
                                                                                                           s/ Clifford Charles
                                                                                       Signature of Clerk or Deputy Clerk
     Case 9:25-cv-80262-AMC Document 3 Entered on FLSD Docket 02/25/2025 Page 3 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


     Cary Cantner, on behalf of himself and others                    )
                  similarly situated,                                 )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 9:25-cv-80262-AMC
                                                                      )
    Game of Silks, Inc., Dan Nissanoff, Troy Levy,                    )
   Tropical Racing, Inc., Ron Luniewski, and Derek                    )
                        Cribbs,                                       )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Troy Levy
                                           5944 Coral Ridge Dr
                                           Coral Springs, Florida 33076




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Wolf Popper LLP
                                           845 Third Avenue
                                           12th Floor
                                           New York, NY 10022
                                           United States


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                                                                               CLERK OF COURT

             Feb 25, 2025
Date:
                                                                                                            s/ Clifford Charles
                                                                                        Signature of Clerk or Deputy Clerk
     Case 9:25-cv-80262-AMC Document 3 Entered on FLSD Docket 02/25/2025 Page 4 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


     Cary Cantner, on behalf of himself and others                      )
                  similarly situated,                                   )
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                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 9:25-cv-80262-AMC
                                                                        )
    Game of Silks, Inc., Dan Nissanoff, Troy Levy,                      )
   Tropical Racing, Inc., Ron Luniewski, and Derek                      )
                        Cribbs,                                         )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Tropical Racing, Inc.
                                           1740 Grassy Springs Rd
                                           Versailles, Kentucky 40383




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Wolf Popper LLP
                                           845 Third Avenue
                                           12th Floor
                                           New York, NY 10022
                                           United States


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You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

             Feb 25, 2025
Date:
                                                                                                            s/ Clifford Charles
                                                                                        Signature of Clerk or Deputy Clerk
     Case 9:25-cv-80262-AMC Document 3 Entered on FLSD Docket 02/25/2025 Page 5 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida


     Cary Cantner, on behalf of himself and others                 )
                  similarly situated,                              )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                          Civil Action No. 9:25-cv-80262-AMC
                                                                   )
    Game of Silks, Inc., Dan Nissanoff, Troy Levy,                 )
   Tropical Racing, Inc., Ron Luniewski, and Derek                 )
                        Cribbs,                                    )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ron Luniewski
                                           120 Linksview Dr
                                           Canonsburg, Pennsylvania 15317




          A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Wolf Popper LLP
                                           845 Third Avenue
                                           12th Floor
                                           New York, NY 10022
                                           United States


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                                                                              CLERK OF COURT

             Feb 25, 2025
Date:
                                                                                                           s/ Clifford Charles
                                                                                       Signature of Clerk or Deputy Clerk
     Case 9:25-cv-80262-AMC Document 3 Entered on FLSD Docket 02/25/2025 Page 6 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida


     Cary Cantner, on behalf of himself and others                    )
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                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                        Civil Action No. 9:25-cv-80262-AMC
                                                                      )
    Game of Silks, Inc., Dan Nissanoff, Troy Levy,                    )
   Tropical Racing, Inc., Ron Luniewski, and Derek                    )
                        Cribbs,                                       )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Derek Cribbs
                                           15 Central Park W
                                           Apt 12K
                                           New York, New York 10023




          A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Wolf Popper LLP
                                           845 Third Avenue
                                           12th Floor
                                           New York, NY 10022
                                           United States


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                                                                            CLERK OF COURT

             Feb 25, 2025
Date:
                                                                                                          s/ Clifford Charles
                                                                                      Signature of Clerk or Deputy Clerk
